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                    UNITED STATES DISTRICT COURT

                    MIDDLE DISTRICT OF LOUISIANA



UNITED STATES OF AMERICA

VERSUS                                CRIMINAL NO. 04-119-FJP-SCR

MARK MARTRELL JACKSON, ET AL


                                 RULING

     This matter is before the Court to determine whether the

Cocaine Base Retroactive Amendment, 18 U.S.C. § 3582, applies to

this defendant.1

     Because the defendant is classified as a career offender, he

is not eligible for retroactivity consideration.

     Therefore, defendant’s original sentence of 324 months shall

remain unchanged, and his motion is denied.

     Baton Rouge, Louisiana, April 14, 2010.


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                                 FRANK J. POLOZOLA
                                  MIDDLE DISTRICT OF LOUISIANA




     1
      Rec. Doc. No. 76.

Doc#46697
